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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF SOUTH CAROLINA
                                    GREENVILLE DIVISION
Winston Tyler Hencely,                            ) C/A No. 6:19-cv-00489-BHH
                                       Plaintiff, )
                                                  )
                    Versus                        ) DEFENDANTS’ ANSWERS TO LOCAL
                                                  )     RULE 26.01 INTERROGATORIES
Fluor Corporation, Inc.; Fluor Enterprises, Inc.; )
Fluor Intercontinental, Inc.; Fluor Government )
Group International, Inc.,                        )
                                     Defendants. )

       Pursuant to Rule 26.01 of the Local Civil Rules for the United States District Court,

District of South Carolina, Defendants, Fluor Corporation, Inc., Fluor Enterprises, Inc., Fluor

Intercontinental, Inc., Fluor Government Group International, Inc. (“Defendants”), by its

undersigned attorneys, makes the following answers to Court ordered Interrogatories:

       (A)     State the full name, address and telephone number of all persons or legal entities

who may have a subrogation interest in each claim and state the basis and extent of said interest.

       ANSWER:        None known to Defendants at this time. Due to the nature of

Plaintiff’s alleged injuries, medical liens arising from Defense Base Act carriers and/or

other insurance carriers may be applicable.

       (B)     As to each claim, state whether it should be tried jury or nonjury and why.

       ANSWER:        Defendants      respectfully   assert    that   Plaintiff’s   claims   raise

nonjusticiable political questions over which this Court lacks subject matter jurisdiction.

Subject to Defendants’ Motion to Dismiss under Rule 12(b)(1), Defendants believe that this

case should be tried to a jury as Plaintiff alleges common law tort claims and the

Defendants are entitled to trial by jury as a matter of right.
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       (C)     State whether the party submitting these responses is a publicly owned company

and separately identify: (1) each publicly owned company of which it is a parent, subsidiary,

partner, or affiliate; (2) each publicly owned company which owns ten percent or more of the

outstanding shares or other indicia of ownership of the party; and (3) each publicly owned

company in which the party owns ten percent or more of the outstanding shares.

       ANSWER:        Fluor Corporation, Inc. is a for profit corporation and publicly traded

company. Fluor Corporation, Inc., does not own ten percent or more of any publicly

owned company.

       Fluor Enterprises, Inc., a for profit corporation, is owned 100% by Fluor

Corporation, a for profit corporation and publicly traded company. Fluor Enterprises,

Inc., does not own ten percent or more of any publicly owned company.

       Fluor Government Group International, Inc., a for profit corporation, is owned

100% by Fluor Enterprises, Inc., a for profit corporation, which is owned 100% by Fluor

Corporation, a for profit corporation and publicly traded company. Fluor Government

Group International, Inc., does not own ten percent or more of any publicly owned

company.

       Fluor Intercontinental, Inc., a for profit corporation, is owned 100% by Fluor

Enterprises, Inc., a for profit corporation, which is owned 100% by Fluor Corporation, a

for profit corporation and publicly traded company. Fluor Intercontinental, Inc., does not

own ten percent or more of any publicly owned company.

       (D)     State the basis for asserting the claim in the division in which it was filed (or the

basis of any challenge to the appropriateness of the division). See Local Civil Rule 3.01.




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       ANSWER:         Defendants      respectfully    assert     that   Plaintiff’s   claims   raise

nonjusticiable political questions over which this Court lacks subject matter jurisdiction.

Subject to Defendants’ Motion to Dismiss under Rule 12(b)(1), Defendants agree that this

case is pending in the appropriate division.

       (E)     Is this action related in whole or in part to any other matter filed in this District,

whether civil or criminal? If so, provide: (1) a short caption and the full case number of the

related action; (2) an explanation of how the matters are related; and (3) a statement of the status

of the related action. Counsel should disclose any cases which may be related regardless of

whether they are still pending. Whether cases are related such that they should be assigned to a

single judge will be determined by the Clerk of Court based on a determination of whether the

cases: arise from the same or identical transactions, happenings or events; involve the identical

parties or property; or for any other reason would entail substantial duplication of labor if heard

by different judges.

       ANSWER:         No.

       (F)     [Defendants only.] If the Defendant is improperly identified, give the proper

identification and state whether counsel will accept service of an amended summons and

pleading reflecting the correct identification.

       ANSWER:         Not applicable.

       (G)     [Defendants only.] If you contend that some other person or legal entity is, in

whole or in part, liable to you or the party asserting a claim against you in this matter, identify

such person or entity and describe the basis of said liability.




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       ANSWER:         At this time, Defendants do not anticipate claiming that some other

person or entity is liable to Defendants or Plaintiff for civil damages. However, Defendants

will argue that the Military’s negligent acts and omissions proximately caused the suicide

attack, and in fact were the sole proximate cause, or were an intervening, superseding,

and/or new and independent cause, of the suicide bombing.

       The Military’s negligence included, inter alia—(1) granting Ahmed Nayeb access to

Bagram Airfield (“BAF”) with actual, direct, and exclusive knowledge of Nayeb’s past

Taliban affiliation; and (2) allowing Nayeb to bring explosives through one or more BAF

Entry Control Points during the four months preceding Nayeb’s suicide attack. Absent the

Military allowing Nayeb to bring explosives into BAF, there could have been no bombing.

       The Defendant(s) specifically reserve the right to supplement and/or change its Answers

to these Interrogatories as discovery progresses in this case.


March 18, 2019                                s/ Robert H. Hood, Jr.
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